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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  SOUTHERN DIVISION

In re:

MISSISSIPPI PHOSPHATES CORPORATION,
et al.,
                                                              CHAPTER 11
                             Debtor
                                                              Case No. 14-51667-KMS
-----------------------------------------------------------
MISSISSIPPI PHOSPHATE CORPORATION
LIQUIDATING TRUST (MPCLT), EDWIN N.
ORDWAY, JR., Managing Director, BERKLEY
RESEARCH GROUP, LLC, in his capacity as
MPCLT TRUSTEE OF THE MPCLT TRUST,

                             Plaintiff,
                                                              Adversary Proceeding No. 16-06069
         v.

UNIMIN CORPORATION,

                             Defendant.


              STIPULATION OF VOLUNTARY DISMISSAL OF COMPLAINT

         The parties hereto, by their respective counsel, hereby stipulate to dismiss the above-

captioned adversary proceeding with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), made

applicable to this adversary proceeding by Fed. R. Bankr. P. 7041, each party to bear its own

costs and attorneys’ fees. The parties have reached a settlement agreement whereby Unimin

Corporation will convey a sum certain to the Trust within thirty (30) days of the date of their

Settlement Agreement (entered on May 17, 2018). The parties request that this Court retain

jurisdiction for the purposes of enforcing the settlement agreement reached between the parties

should the settlement not be consummated as agreed.
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Dated: May 22, 2018


 /s/ Kasee Sparks Heisterhagen
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